






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00349-CV






Misty Celeste Williams, Appellant


v.


Joshua S. Bond, Sr., Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 426TH JUDICIAL DISTRICT

NO. 232,813-E, HONORABLE FANCY H. JEZEK, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Joshua S. Bond has filed an unopposed "Motion to Remand Case Back to
Trial&nbsp;Court," in which he explains that the parties have reached an agreement settling their dispute,
and to which he has attached a copy of a Rule 11 agreement signed by both parties that purports to
settle the remaining issues in dispute.  Bond asks this Court to remand this case to the district court
in order to finalize the parties' agreement.  We grant the motion and abate the appeal.  See Tex. R.
App. P. 42.1(a)(2)(C).  The parties shall submit either a joint report concerning the status of
settlement negotiations or a motion to dismiss on or before January 26, 2012.


							____________________________________

							Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Henson

Abated

Filed:   November 4, 2011


